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                       EXHIBIT 11
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                                                                               DAVID P. ENZMINGER
                                                                                                  Partner
                                                                                          (213) 615-1780
                                                                                 DEnzminger@winston.com



 December 21, 2021


 VIA FEDERAL EXPRESS AND EMAIL

 Sea Limited
 Garena International | Private Limited
 Garena Online Private Limited
 Group General Counsel
 Attn: Yanjun Wang
 1 Fusionopolis Place, #17-10
 Galaxis, Singapore 138522
 Email: legal@garena.com

 Re:     Cease and Desist – Infringement of Krafton, Inc.’s Copyrights in PlayerUnknown’s
         Battlegrounds

 Dear Yanjun Wang:

        We are counsel to Krafton, Inc. (“Krafton”), which owns United States registered
 copyrights in the video game titled PlayerUnknown’s Battlegrounds (“BATTLEGROUNDS”)
 (Reg. Nos. PA0002097453, TX0008524041, PA0002097065, and TX0008524047).

         We write to demand that Sea Limited (“Sea Ltd.”), Garena International | Private Limited
 (“Garena International”), Garena Online Private Limited (“Garena Online”), and/or anyone acting
 on behalf of or at the direction of any of Sea Ltd., Garena International, and/or Garena Online
 (collectively, “Garena”) immediately cease and desist the authorization of the development,
 promotion, sale, distribution, and/or any other uses in the United States of the video games titled
 Garena Free Fire, Garena Free Fire 4nniversary, Free Fire – New Age, and Free Fire Max and/or
 any other versions of these and related versions of the game (collectively, “FREE FIRE”).

        There is no question that FREE FIRE extensively copies numerous protectable aspects of
 BATTLEGROUNDS, both individually and in combination, including BATTLEGROUNDS’
 unique game opening “air drop” feature, the game structure, the combination and selection of
 weapons, armor, and unique objects, locations, and the overall choice of color schemes, materials,
 and textures, all of which are copyrighted. Exhibit A, which is attached herein, lists some
 nonexhaustive examples of Krafton’s works of creative expression that have been infringed in
 FREE FIRE.

        Garena does not have the right to license in the United States any third parties to utilize
 Krafton’s copyrights in BATTLEGROUNDS, including through the distribution of FREE FIRE.
 Garena has no defense for its actions, and its conduct in no way constitutes fair use. Indeed, FREE
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                                                                       Sea Limited
                                             Garena International | Private Limited
                                                   Garena Online Private Limited
                                                               December 21, 2021
                                                                             Page 2


 FIRE serves no transformative purpose, appropriates BATTLEGROUNDS’ original expression
 without adding anything new or original, is for a commercial purpose, and adversely affects the
 existing and potential market for BATTLEGROUNDS and Krafton’s copyrights in it.

         In light of the foregoing, no later than January 5, 2022, Garena must revoke its apparent
 authorization of the distribution of FREE FIRE via the United States-based Apple App Store and
 the Google Play store (currently available at https://apps.apple.com/us/app/garena-free-fire-
 4nniversary/id1300146617, https://apps.apple.com/my/app/garena-free-fire-max/id1480516829,
 https://play.google.com/store/apps/details?id=com.dts.freefireth&hl=en_US&gl=US,               and
 https://play.google.com/store/apps/details?id=com.dts.freefiremax&hl=en US&gl=US
 respectively), and must also revoke its apparent authorization of all FREE FIRE-related content
 on any United States-facing websites, including but not limited to Garena’s official channels on
 YouTube (currently available at https://www.youtube.com/c/FreeFireOfficial/channels and
 https://www.youtube.com/c/FreeFireNorthAmerica/about), user forums on the Apple App Store,
 the Google Play store, and any and all other such websites. Garena is expressly requested to retain
 all video, files, data, and any other types of potential evidence related to Garena’s infringement
 Krafton’s copyrights.

         Nothing contained herein shall constitute a waiver, either express or implied, of any of
 Krafton’s rights or remedies, whether in law or at equity, all of which are expressly reserved. To
 be clear, the fact that Krafton has elected to exercise its United States copyrights with respect to
 this cease and demand shall in no way impact its ability to exercise its United States copyrights or
 any other rights to the fullest extent of the law or in equity, in the United States or abroad.

 Sincerely,
 /s/ David P. Enzminger
 David P. Enzminger
 Winston & Strawn LLP

 Encl.

 cc:     Krafton, Inc.
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                                #:1035A
                               Exhibit


      BATTLEGROUNDS                                 FREE FIRE
GAMEPLAY TOTAL LOOK AND FEEL               GAMEPLAY TOTAL LOOK AND FEEL




                                     1
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                                #:1036A
                               Exhibit

      BATTLEGROUNDS                                 FREE FIRE
GAMEPLAY TOTAL LOOK AND FEEL               GAMEPLAY TOTAL LOOK AND FEEL




                                     2
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                                #:1037A
                               Exhibit


   BATTLEGROUNDS PLAY MAP                         FREE FIRE PLAY MAP




        BATTLEGROUNDS                                 FREE FIRE
       POCHINKI VILLAGE                           POCHINOK VILLAGE




                                     3
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                                #:1038A
                               Exhibit

  BATTLEGROUNDS GRAVEYARD                        FREE FIRE GRAVEYARD




       BATTLEGROUNDS                                 FREE FIRE
PORT WITH SHIPPING CONTAINERS              PORT WITH SHIPPING CONTAINERS




                                     4
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                               Exhibit

       BATTLEGROUNDS                                 FREE FIRE
PORT WITH SHIPPING CONTAINERS              PORT WITH SHIPPING CONTAINERS




BATTLEGROUNDS SOUTHEAST ASIA                   FREE FIRE SOUTHEAST ASIA
      COASTAL VILLAGE                             COASTAL VILLAGE




                                     5
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                                #:1040A
                               Exhibit

BATTLEGROUNDS SOUTHEAST ASIA                   FREE FIRE SOUTHEAST ASIA
      COASTAL VILLAGE                             COASTAL VILLAGE




        BATTLEGROUNDS                                 FREE FIRE
        SHOOTING RANGE                             SHOOTING RANGE




                                     6
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                                Exhibit

      BATTLEGROUNDS FARM                             FREE FIRE FARM




    BATTLEGROUNDS TRESTLE                         FREE FIRE TRESTLE
   BRIDGE TO ADJACENT ISLAND                  BRIDGE TO ADJACENT ISLAND




                                      7
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                                Exhibit

       BATTLEGROUNDS                                 FREE FIRE
  CONDOMINIUM WITH BALCONY                   CONDOMINIUM WITH BALCONY




BATTLEGROUNDS POWERPLANT AND                  FREE FIRE POWERPLANT AND
       COOLING TOWERS                              COOLING TOWERS




                                      8
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                                 #:1043A
                                Exhibit

BATTLEGROUNDS POWERPLANT AND                  FREE FIRE POWERPLANT AND
       COOLING TOWERS                              COOLING TOWERS




         BATTLEGROUNDS                                FREE FIRE
        ONE-PORT GARAGE                            ONE-PORT GARAGE




                                      9
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                                Exhibit

         BATTLEGROUNDS                                FREE FIRE
        ONE-PORT GARAGE                            ONE-PORT GARAGE




         BATTLEGROUNDS                                FREE FIRE
        TWO-PORT GARAGE                            TWO-PORT GARAGE




                                     10
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                                Exhibit

         BATTLEGROUNDS                                FREE FIRE
          WAREHOUSE #1                               WAREHOUSE #1




        BATTLEGROUNDS                                 FREE FIRE
      THREE-STORY BUILDING                       THREE-STORY BUILDING




                                     11
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                                Exhibit

        BATTLEGROUNDS                                 FREE FIRE
      THREE-STORY BUILDING                       THREE-STORY BUILDING




   BATTLEGROUNDS OUTHOUSE                         FREE FIRE OUTHOUSE




        BATTLEGROUNDS                                  FREE FIRE
       GAS STORAGE TANKS                          GAS STORAGE TANKS




                                     12
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                                Exhibit

         BATTLEGROUNDS                                  FREE FIRE
            FACTORY                                     FACTORY




  BATTLEGROUNDS RADIO TOWER                     FREE FIRE RADIO TOWER




 BATTLEGROUNDS WATCHTOWER                       FREE FIRE WATCHTOWER




                                     13
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                                Exhibit

         BATTLEGROUNDS                                FREE FIRE
        TRANSPORT PLANE                            TRANSPORT PLANE




         BATTLEGROUNDS                                  FREE FIRE
           PARACHUTE                                   PARACHUTE




                                     14
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                                Exhibit

   BATTLEGROUNDS FRYING PAN                       FREE FIRE FRYING PAN




   BATTLEGROUNDS FRYING PAN                      FREE FIRE FRYING PAN
    USED AS A MELEE WEAPON                      USED AS A MELEE WEAPON




                                     15
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                                 #:1050A
                                Exhibit

  BATTLEGROUNDS FRYING PAN                       FREE FIRE FRYING PAN
 USED AS INDESTRUCTIBLE ARMOR               USED AS INDESTRUCTIBLE ARMOR




                                     16
